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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

TEXASLDPC INC.,

                    Plaintiff,

      v.                                      C.A. No. 18-1966-SB

BROADCOM INC., LSI CORPORATION,
AVAGO TECHNOLOGIES U.S. INC.,

                     Defendants.


     DEFENDANTS’ 30(b)(1) NOTICE OF DEPOSITION OF GABRIEL DESJARDINS

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

 Procedure, Plaintiff TexasLDPC Inc., by and through their counsel of record, will take the

 deposition of Gabriel Desjardins. The deposition will commence at 9:00 a.m. local time on October

 20, 2022 at the offices of Fish & Richardson P.C., located at 222 Delaware Avenue, 17th Floor,

 Wilmington, DE 19801, and will continue from day to day until completed, or at such other time

 and place as may be mutually agreed upon by counsel for the parties.

        The deposition will be taken by oral examination, with written and/or sound and visual

 record made thereof (e.g. videotape, LiveNote, etc.) before a Notary Public or officer authorized

 by law to administer such oaths and will be conducted in accordance with the Federal Rules of

 Civil Procedure. This deposition is for the purpose of discovery and evidentiary use at trial or any

 hearing for this matter, and for any other purpose permitted under the Federal Rules of Civil

 Procedure. You are invited to attend.




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Date: September 23, 2022            FISH & RICHARDSON P.C.


Lawrence K. Kolodney                /s/ Warren K. Mabey, Jr.
Fish & Richardson P.C.              Gregory R. Booker (#4784)
One Marina Park Drive               Warren K. Mabey, Jr. (#5775)
Boston, MA 02210                    222 Delaware Avenue, 17th Floor
Telephone: (617) 542-5070           P.O. Box 1114
kolodney@fr.com                     Wilmington, DE 19899
                                    Telephone: (302) 652-5070
David M. Hoffman                    booker@fr.com
Fish & Richardson P.C.              mabey@fr.com
111 Congress Avenue, Suite 810
Austin, TX 78701
Telephone: (512) 472-5070           ATTORNEYS FOR PLAINTIFF
hoffman@fr.com                      TEXASLDPC INC.

Michael R. Headley
Fish & Richardson P.C.
500 Arguello Street, Suite 400
Redwood City, CA 94063
(650) 839-5070
headley@fr.com

Rodeen Talebi
Bret T. Winterle
Fish & Richardson P.C.
1717 Main Street, Suite 5000
Dallas, TX 75201
(214) 747-5070
talebi@fr.com
winterle@fr.com

Elliot N. Scher
Fish & Richardson P.C.
12860 El Camino Real, Suite 400
San Diego, CA 92130
(858) 678-4721
scher@fr.com




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